                    Case 2:18-cv-01736-JCC Document 71 Filed 08/19/21 Page 1 of 13



 1                                                                    The Honorable John C. Coughenour

 2

 3

 4

 5                                     UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 6
     ABDIWALI MUSSE,                                         No. 2:18-cv-01736-JCC
 7
                                   Plaintiff,                PLAINTIFF’S MOTION FOR SANCTIONS
 8                                                           FOR SPOLIATION OF EVIDENCE
                            v.
 9                                                           NOTE FOR: SEPTEMBER 10, 2021
     KING COUNTY,
10                                                           Oral Argument Requested
                                   Defendants.
11

12               Plaintiff Abdiwali Musse, through counsel, moves for an order imposing appropriate
13   sanctions on King County for the destruction of the video recordings of the events that give rise
14
     to this lawsuit. The Court has discretion in fashioning sanctions for the destruction of evidence.
15
     However, because of the importance of the destroyed evidence and the egregiousness of the
16
     conduct that led to its destruction, plaintiff submits that an appropriate sanction in this case is a
17

18   partial directed verdict instructing the jury that King County is 100% liable for plaintiff’s injuries

19   on his negligence claim, and that those injuries were the proximate result of deliberate

20   indifference to his right to safety while in custody.
21
                                                          FACTS
22
                 This Court summarized the factual background of this case in its Order on Defendants’
23
     Motion for Summary Judgment as follows:
24
                 Early in the morning on November 1, 2015, while in bed, Mr. Musse was attacked
25               by Carl Alan Anderson. At the time, both men were being held at the King County
                 Correctional Facility (“KCCF”) in unit 9SUB, an open dormitory-style area that
26               normally houses pre-trial detainees. Mr. Musse had been arrested earlier that night
                 for driving under the influence. This was the first time he had been in jail. Mr.
27               Anderson, on the other hand, had been booked into KCCF eight times.

     PLAINTIFF’S MOTION FOR SANCTIONS
     FOR SPOLIATION OF EVIDENCE - 1                                             MACDONALD HOAGUE & BAYLESS
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     No. 2:18-cv-01736-JCC                                                      Tel 206.622.1604 Fax 206.343.3961
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 1               On this occasion, Mr. Anderson was held at KCCF after being arrested for
                 punching a man in the face without apparent warning or provocation a few hours
 2               prior on the streets of Seattle. KCCF initially declined to take custody of Mr.
                 Anderson after his arrest, based upon a Jail Health Services Registered Nurse’s
 3               medical evaluation. Mr. Anderson was instead transferred to Harborview Medical
                 Center for medical treatment before being returned to KCCF early the morning of
 4               November 1st. According to Dr. Matthew Beecroft, the attending physician at the
                 Harborview ER who treated Mr. Anderson, he was suffering from a “meth-induced
 5               psychosis.” After a few hours, Dr. Beecroft discharged him to police custody. Dr.
                 Beecroft would later explain that he was comfortable releasing Mr. Anderson “back
 6               into police custody ..., [but] would not have released Mr. Anderson ... if he had
                 simply come into the ER on his own with these same symptoms” because there was
 7               a risk he “would ... be a danger to himself or others.”

 8               When Mr. Anderson returned to KCCF, he was again evaluated by a Jail Health
                 Services Registered Nurse and placed into the general population 9SUB unit, which
 9               also housed Mr. Musse. Nobody at the Jail flagged Mr. Anderson as someone
                 requiring separate medical or psychiatric housing. According to the Supervisor’s
10               Incident Report, the attack occurred shortly thereafter, at 3:18 a.m., which Plaintiff
                 alleges was less than twenty minutes after Mr. Anderson was placed in the 9SUB
11               unit. Plaintiff claims that, as a result of the attack, he suffered “fractures to his left
                 orbital socket, severe dental injuries, and a traumatic brain injury that will impact
12               him for the rest of his life.”

13   Dkt. 62 at 1-2 (record citations omitted).

14               Mr. Musse claims in this lawsuit that King County is liable under both state and
15   federal law for the injuries he suffered in this attack. The Court has found sufficient
16
     evidence to support those claims and they are set for jury trial starting December 6, 2021.
17
     Dkt. 62, 66. The individual claims against Jail Director William Hayes have been
18
     dismissed by stipulation (Dkt. 69), so King County is the only remaining party defendant.
19
20               Discovery has revealed that King County had bit destroyed a video of the assault

21   on Mr. Musse and the bizarre behavior by Mr. Anderson that preceded it. Paul Allyn,

22   whose company installed video cameras in the jail, testified that there were two cameras in
23
     the cell where the attack occurred, both of which were functioning and would have
24
     recorded the assault and the events preceding it. See Allyn Dep. (Ex. 71) at 17:16-20:14,
25
     18:12-20:14, 22:8- 3.
26
27
     1
         The Exhibits referenced herein (“Ex.”) are attached to the supporting Declaration of Timothy Ford.
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 1               Discovery also revealed that the recordings of these videos were destroyed—
 2   presumably 60 days after the incident, long before this case was filed. See Interrogatory
 3
     Answer No. 2 (Ex. 3), page 4. They were destroyed although the responsible King County
 4
     Jail officials were aware of the assault and knew that Mr. Musse had been taken to
 5
     Harborview for treatment of his injuries. See Stark Report (Ex. 2) at 00928-932. They
 6

 7   were destroyed although on November 4, 2015, just three days after the incident, Shift

 8   Commander Jerry Hardy approved the initial report describing the incident and Major

 9   Todd Clark referred it to the jail’s criminal investigations unit. Id. at 00930. They were
10
     erased although King County Jail’s own Policy Manual requires that “[w]hen any of the
11
     following occurs: incident which requires a preliminary investigation; … injury to staff
12
     and/or inmate; criminal behavior; and/or alleged misconduct, the Shift Captain will export
13
     any videotape of the incident to the archived video file.” KC Jail Policy 4-01-020 (Ex. 4)
14

15   at 2. Although the jail officials now say they don’t specifically recall whether the cameras

16   were installed in unit 9SUB at the time, Mr. Allyn has confirmed they were; and the fact
17   there were video cameras throughout the facility was well known to all: Jail Director
18
     Hayes testified there are cameras “all over the facility,” “probably at least a couple
19
     hundred ….” Hayes Dep. (Ex. 11) at 39:21-40:11.
20
                 Shift Captain Jerry Hardy admitted in deposition that the jail policy was mandatory
21

22   and made preservation of the videos his responsibility. Hardy Dep. (Ex. 10) at 59:18.

23   Other County witnesses said the same thing. See, e.g., Clark Dep. (Ex. 8) at 237:1-11;

24   Hayes Dep. (Ex. 11) at 42:3. They also testified that others in the jail hierarchy could have
25   preserved the video as well; and Officer Ken Stark, to whom the criminal investigation was
26
     assigned, admitted he could have asked them to do so. Stark Dep. (Ex. 12) at 34:11, 36:16-
27

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 1   21. Preserving the records required only the click of a mouse button on the jail’s
 2   computer. See Egashira Dep. (Ex. 9) at 39:8-11. But no one did that, and the video record
 3
     was destroyed without being saved or viewed by anyone.2
 4
                 This video record of the incident would have been the best evidence of the events
 5
     that give rise to this lawsuit. It likely showed Mr. Anderson’s attack on Mr. Musse, from
 6

 7   two different angles. Allyn Dep. (Ex. 7) at 27:4-11. It also would have shown how Mr.

 8   Anderson was acting in the few minutes he was in the cell before he attacked Mr. Musse.

 9   The only witness who has described this says he was “pacing around, saying things that
10
     made no sense…. saying things like we were talking about him and that he wanted to hurt
11
     someone and the Demons were going to make him do it.” See Winston Dec. (Ex. 6) at 1.
12
     That fact—along with the fact that the last person who saw Anderson before he was
13
     admitted to jail, Dr. Beecroft, also recognized he was dangerously psychotic—is central to
14

15   plaintiffs’ claims that the jail had notice of, and was indifferent to, the danger Anderson

16   posed to other inmates. See Order or SJ (Dkt. 62) at 7.
17               The destruction of the video has thus irreparably damaged Mr. Musse’s ability to
18
     present his case on liability to the jury. It has also undermined his ability to convey to the
19
     jury the magnitude of his damages, which he could have best done by allowing it to
20
     actually witness the violence and terror that he experienced at Mr. Anderson’s hands.
21

22               Because of this, plaintiff has filed this motion for sanctions commensurate with the

23   magnitude of the damage done by King County’s destruction of this evidence.

24

25
     2
       Plaintiff believes this failure was part of a grossly inadequate investigation of this incident. No one at
26   the jail attempted to interview any of the inmates in cell 9SUB who witnessed the incident, or to take any
     photographs of Mr. Musse’s injuries (or the injuries to Mr. Anderson’s fists), or to collect any of Mr.
27   Musse’s bloody clothes. See Stark Dep. (Ex. 12) at 31:7-32:16; 33:3-34:16; 37:12-39:1; 39:2-44:15.

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 1                                                 ARGUMENT
 2                This Court has recently had occasion to review and apply the law governing
 3
     sanctions for spoliation of evidence:
 4
                 District courts possess inherent authority to impose sanctions against a party in
 5               response to the party’s spoliation of relevant evidence. See Glover v. BIC Corp., 6
                 F.3d 1318, 1329 (9th Cir. 1993). Spoliation is the “destruction or significant
 6               alteration of evidence, or the failure to preserve property for another’s use as
 7               evidence, in pending or future litigation.” Kearney v. Foley & Lardner, LLP, 590
                 F.3d 638, 649 (9th Cir. 2009). The party alleging spoliation must prove:
 8
                            (1) that the party having control over the evidence had an obligation to
 9                          preserve it at the time it was destroyed; (2) that the records were destroyed
                            with a ‘culpable state of mind;’ and (3) that the evidence was ‘relevant’ to
10
                            the party’s claim or defense such that a reasonable trier of fact could find
11                          that it would support that claim or defense.

12               Apple Inc. v. Samsung Elecs. Co., 888 F. Supp. 2d 976, 989 (N.D. Cal. 2012)
                 (collecting cases).
13
                 “[T]he ‘duty to preserve arises when a party knows or should know that certain
14
                 evidence is relevant to pending or future litigation.’” Surowiec v. Capital Title
15               Agency, Inc., 790 F. Supp. 2d 997, 1005 (D. Ariz. 2011) (quoting Ashton v. Knight
                 Transp., Inc., 772 F. Supp. 2d 772, 800 (N.D. Tex. 2011)). “Stated differently, the
16               duty to preserve is triggered not only during litigation, but also extends to the
                 period before litigation when a party should reasonably know that evidence may be
17               relevant to anticipated litigation.” Id. (internal quotations omitted); accord
                 Henderson v. Tyrell, 910 P.2d 522, 534 n.7 (Wash. Ct. App. 1996) (quoting Fire
18
                 Ins. Exch. v. Zenith Radio Corp., 747 P.2d 911, 913–14 (Nev. 1987)) (“[E]ven
19               where an action has not been commenced and there is only a potential for litigation,
                 the litigant is under a duty to preserve evidence which it knows or reasonably
20               should know is relevant to the action.”).
21               In the Ninth Circuit, a court may impose sanctions on a party for spoliating
22               evidence if the court finds that the party acted with “conscious disregard” of its
                 discovery obligations; generally, a finding of bad faith is not required. See Apple
23               Inc., 888 F. Supp. 2d at 998 (citing Unigard Sec. Ins. Co. v. Lakewood Eng’g &
                 Mfg. Corp., 982 F.2d 363, 368 n.2 (9th Cir. 1992)); Hamilton v. Signature Flight
24               Support Corp., 2005 WL 3481423, slip op. at 7 (N.D. Cal. 2005) (quoting
                 Residential Funding Corp. v. DeGeorge Fin. Corp., 306 F.3d 99, 108) (“[The
25               culpable state of mind] factor is satisfied by showing that the evidence was
26               destroyed ‘knowingly, even if without intent to [breach a duty to preserve it], or
                 negligently.’ ”).
27

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 1   Ski Lifts, Inc. v. Schaeffer Manufactur., 2020 WL 1492676 (USDCt. WD Wa. 3/27/2020).
 2   Additionally, FRCP 37(e) provides:
 3
                 If electronically stored information that should have been preserved in the
 4               anticipation or conduct of litigation is lost because a party failed to take reasonable
                 steps to preserve it, and it cannot be restored or replaced through additional
 5               discovery, the court:
 6                          (1) upon finding prejudice to another party from loss of the information,
 7                              may order measures no greater than necessary to cure the prejudice; or

 8                          (2) only upon finding that the party acted with the intent to deprive another
                                party of the information’s use in the litigation may:
 9
                                   (A) presume that the lost information was unfavorable to the party;
10

11                                 (B) instruct the jury that it may or must presume the information
                                   was unfavorable to the party; or
12
                                   (C) dismiss the action or enter a default judgment.
13
     This Court has held that the inherent power to sanction acts of spoliation that prejudices an
14

15   opponent is additional to, and separate from, the discretion conferred by this Rule.

16   Neely v. Boeing Co., 2019 WL 1777680, at *2 (W.D. Wash. Apr. 23, 2019). .
17               Under either test, all the elements of a sanctionable spoliation are present here. The
18
     only question is what sanction should be imposed. Because of the flagrancy of the
19
     County’s failure to preserve this critical evidence, and the scope of the prejudice to the
20
     plaintiff’s case it causes, we submit the sanction should be the most severe the law allows.
21

22               1. King County had sole possession of the video evidence and recklessly
                    destroyed it in violation of its own jail policies.
23
                 Discovery has shown that King County’s jail had video recordings made on the
24
     night in question which included video of the assault on Wali Musse and the moments
25

26   preceding it. King County’s own policies recognized a duty to preserve that video

27   evidence on three separate grounds: it had been determined to be an “incident which

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 1   requires a preliminary investigation;” it involved “injury to … [an] inmate;” and it
 2   involved “criminal behavior … and[] alleged misconduct.” See KC Jail Policy 4-01-020
 3
     (Ex. 4) at 2; Supervisors Report (Ex. 1) at 821.
 4
                 Moreover, the jail marked the incident for a criminal investigation, so its
 5
     investigators had a constitutional duty to preserve material evidence in its possession. See
 6

 7   Miller v. Vasquez, 868 F.2d 1116, 1119 (9th Cir. 1989) (citing California v. Trombetta,

 8   467 U.S. 479 (1984)); City of Bellevue v. Ohlson, 60 Wash. App. 485, 493, 803 P.2d 1346

 9   (1991) (police have a duty “to preserve material evidence.”); see also United States v.
10
     LaVallee, 439 F.3d 670, 697 (10th Cir. 2006) (due process principles apply to prison
11
     investigators). Also, because the jail staff and -administrators were aware of their legal
12
     and constitutional duty to protect inmates in their custody from harm,3 and knew that Mr.
13
     Anderson had been placed in the cell with Mr. Musse without routine screening, they had
14

15   ample reason to foresee that the incident would result in civil litigation.     “[C]ourts have

16   consistently found defendants put on notice by a serious accident or injury occurring on
17   their premises.” Quraishi v. Port Auth. of N.Y. & N.J., 2015 WL 3815011, at *5 (S.D.N.Y.
18
     June 18, 2015) (citing cases). And in addition to that, because Mr. Musse was in the jail’s
19
     custody and control, it had a duty to protect him, Gregoire v. City of Oak Harbor, 170
20
     Wash. 2d 628, 244 P.3d 924 (2010); and where government has such a special relationship
21

22   with a victim of crime, the victim has a right to a reasonable investigation. Cf. Lewis v.

23   Whatcom Cty., 136 Wash. App. 450, 457, 149 P.3d 686 (2006) (so holding for victims of

24   child abuse).
25

26
27   3
         See, e.g., Hardy Dep. (Ex. 10) at 57:13-24 (safety “is our purpose”).

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 1               The first element of spoliation therefore is present here under any standard. King
 2   County had much more than “’some notice that the documents were potentially relevant’”
 3
     to anticipated litigation, Ski Lifts, 2020 WL 1492676 *5 (quoting United States v. Kitsap
 4
     Physicians Servs., 314 F.3d 995, 1001 (9th Cir. 2002)), so the “information … should have
 5
     been preserved,” FRCP 37(e)(1). The fact there was no ongoing litigation makes no
 6

 7   difference. Ski Lifts, 2020 WL at 1492676 *4 and cases there cited; see also Silvestri v.

 8   General Motors Corp., 271 F.3d 583, 591 (4th Cir. 2001) (“The duty to preserve material

 9   evidence … extends to that period before the litigation when a party reasonably should
10
     know that the evidence may be relevant to anticipated litigation.”)
11
                 The record shows King County not only should have known the videos might be
12
     relevant to future litigation, it did know: its administration had referred the case to the
13
     “criminal investigations unit” three days after the incident. It also knew that an inmate in
14

15   its care had been injured by another, seriously enough to be taken to the hospital. Its own

16   policies made clear said that those circumstances required preservation of video records.
17   King County is clearly responsible for the spoliation of this critical evidence.
18
                 2. The destruction of the videos should be presumed to have been intentional.
19
                 The determination of what sanction is appropriate for spoliation of evidence turns
20
     in part on the level of the responsible party’s culpability.
21

22               FRCP 37(e) recognizes two levels of culpability: “fail[ure] to take reasonable steps

23   to preserve” the evidence, and “act[ion] with the intent to deprive another party of the

24   information’s use in the litigation.” The first level is obviously satisfied here; whether the
25   second is, as well, depends on inferences that can be drawn from the County’s misconduct.
26
27

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 1               “Intent is rarely proved by direct evidence, and a district court has substantial
 2   leeway to determine intent through consideration of circumstantial evidence, witness
 3
     credibility, motives of the witnesses in a particular case, and other factors.” Morris v.
 4
     Union Pac. R.R., 373 F.3d 896, 902 (8th Cir. 2004). “A party's destruction of evidence
 5
     qualifies as willful spoliation if the party has ‘some notice that the documents were
 6

 7   potentially relevant to the litigation before they were destroyed.’” Leon v. IDX Sys.

 8   Corp., 464 F.3d 951, 959 (9th Cir. 2006) (quoting Kitsap Physicians Serv., 314 F.3d at

 9   1001) (court’s emphasis)). Here, as shown, the County knew the video was more than
10
     “potentially” relevant. Its failure to preserve it insured that “another party”—Mr.
11
     Anderson, and Mr. Musse—would be “deprive[d] of the [videos’] … use in … litigation.”
12
     This is strong circumstantial evidence of intent. “If the actor knows that the consequences
13
     are certain, or substantially certain, to result from his act, and still goes ahead, he is treated
14

15   by the law as if he had in fact desired to produce the result.” Inst. of Cetacean Rsch. v. Sea

16   Shepherd Conservation Soc'y, 774 F.3d 935, 950 (9th Cir. 2014) (citing Restatement
17   (Second) of Torts § 8A(b) (1965)).
18
                 Plaintiff therefore submits that the Court could and should find that the destruction
19
     of this evidence qualifies for sanctions under in FRCP 37(e)(2). But as noted above, the
20
     Court need not make that finding because it also has the inherent power to sanction
21

22   destruction of evidence that prejudices an opposing party. Sanctions within the Court’s

23   inherent power can be imposed for “conscious disregard” of discovery obligations, which

24   is more than apparent here. Application of this inherent power standard makes sense here
25   because of the unusually severe prejudice the County’s actions have caused the plaintiff—
26
     while sanctions under FRCP 37(e)(2) require no showing of prejudice at all.
27

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 1               3. The Court should impose a sanction commensurate with the prejudice
                    caused by the County’s destruction of this critical evidence.
 2

 3               All the applicable rules tailor sanctions for spoliation the harm caused. FRCP

 4   37(e)(1) authorizes “measures no greater than necessary to cure the prejudice.” FRCP

 5   37(e)(2) says that, if intentionality is found, the Court can instruct the jury “that it may or
 6   must presume the information was unfavorable to the party” or “dismiss the action or enter
 7
     a default judgment.” The Court’s inherent power includes a similar range of alternatives:
 8
                 First, and least severely, the court, at trial, may instruct the jury that based on a
 9               party's destruction of evidence it may draw an inference adverse to that party.
                 Glover v. BIC Corp., 6 F.3d 1318, 1329 (9th Cir.1993)…. This type of sanction
10
                 need not be supported by a finding of bad faith; instead, “simple notice of [the
11               despoiled evidence's] ‘potential relevance to the litigation’ “will support its
                 imposition.” Glover, 6 F.3d at 1329.
12
                 Second, a court can exclude witness testimony proffered by the party responsible
13               for destroying the evidence and based on the destroyed evidence. Id.…
14
                 Finally, and most severely, a court may dismiss the claim of the party responsible
15               for destroying the evidence or, where the accused party is a defendant, enter default
                 judgment as to a claim or claims. This ultimate sanction may be imposed only
16               when spoliation is “due to willfulness, bad faith, or fault,” and results in unfair
                 prejudice to the opposing party that no lesser sanction can remedy. In re Exxon
17               Valdez, 102 F.3d 429, 432–33 (9th Cir.1996).
18
     Biselli v. Cty. of Ventura, 2012 WL 2061688, at *2 (C.D. Cal. June 4, 2012).
19
                 “[L]ike many other sanctions, an adverse inference instruction can take many
20               forms, again ranging in degrees of harshness.” The degree of harshness should be
                 dictated by the “nature of the spoliating party's conduct—the more egregious the
21               conduct, the more harsh the sanction.” “In its most harsh form, when a spoliating
22               party has acted willfully or in bad faith, the jury can be instructed that certain facts
                 are deemed admitted and must be accepted as true. At the next level, when a
23               spoliating party has acted willfully or recklessly, a court may impose a mandatory
                 presumption.” At the other end of the spectrum, “the least harsh instruction permits
24               (but does not require) a jury to presume that the lost evidence is both relevant and
                 favorable to the innocent party.”
25

26   Apple, 881 F. Supp. 2d at 1150 (quoting Pension Committee v. Banc of Am. Securities.,

27   685 F. Supp. 2d 456, 469 (S.D.N.Y. 2010)). Where the destruction of evidence causes the

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 1   opposing party “significant prejudice,” “a non-rebuttable inference is appropriate.”
 2   Dickinson Frozen Foods, Inc. v. FPS Food Process Sols. Corp., 2019 WL 2236080 at
 3
     *17–18 (USDCt. Idaho 5/21/19). “A rebuttable presumption would not be an effective
 4
     alternative because it would leave [the culpable party] … free to tell its own story,
 5
     unchecked by the evidence it failed to preserve.” Id.
 6

 7               4. Plaintiff has been severely prejudiced by King County’s destruction of the
                    video evidence.
 8
                 The prejudice to plaintiff from the destruction of this evidence is hard to overstate.
 9
     “Video recordings … can be uniquely powerful pieces of evidence because they create ‘an
10

11   irrefutable record of what occurred …..’” State v. Ralston, 486 P.3d 822, 833 (Ore. App.

12   2021) (quoting Floyd v. City of New York, 959 F. Supp. 2d 668, 685n.65 (S.D.N.Y. 2013)).

13   See State v. Merriman, 410 S.W.3d 779, 792-93 (Tenn. 2013) (“A video recording … is
14
     unique by its very nature. No evidence comparable to this video recording could have been
15
     obtained through other means.”). Indeed, video evidence can be conclusive, so powerful
16
     that no reasonable jury could fail to find what it depicts to be proven, so summary
17
     judgment can be granted on its basis alone. Scott v. Harris, 550 U.S. 372, 380 (2007).
18

19               As noted above, the events that the videos here captured almost certainly included

20   not only Mr. Anderson’s attack on Mr. Musse, but also his behavior just before it and just
21   after he was put in the cell by the jail guards. The evidence that does exist—Mr. Musse’s
22
     hazy recollection of the attack and an inmate’s description of the minutes preceding it—
23
     indicates the videos would have shown that the assault was unprovoked, Mr. Musse was
24
     asleep, and Mr. Anderson’s behavior from the moment he entered the cell made it obvious
25

26   that he was dangerously mentally ill. That would be near-conclusive proof of liability, that

27   Mr. Musse was an innocent victim and the jail failed to protect him from obvious danger.

     PLAINTIFF’S MOTION FOR SANCTIONS
     FOR SPOLIATION OF EVIDENCE - 11                                               MACDONALD HOAGUE & BAYLESS
                                                                                     705 Second Avenue, Suite 1500
                                                                                        Seattle, Washington 98104
     No. 2:18-cv-01736-JCC                                                         Tel 206.622.1604 Fax 206.343.3961
     18987.00000 od201102
                   Case 2:18-cv-01736-JCC Document 71 Filed 08/19/21 Page 12 of 13



 1               As noted above, the videos also would have been graphic, irreplaceable evidence of
 2   the pain, shock and emotional distress caused by the horrific attack Mr. Musse suffered,
 3
     and the length of time it went on. No court sanction could repair the damage caused by
 4
     the loss of that damage evidence; so any sanction that is imposed will be less than a
 5
     complete remedy for the harm done to plaintiff’s case.
 6

 7               Although no remedy will completely repair the damage done, the Court should

 8   reduce it as much as possible. The harm to plaintiffs’ liability case can be ameliorated, but

 9   only by strong measures that keep the County from denying what the videos likely would
10
     have shown: that Mr. Musse was the victim of an unprovoked assault by a person with
11
     whom he never should have been confined. Plaintiff believes that can best be done under
12
     FRCP 37(e)(2) and the Court’s inherent power, by instructing the jury that the County is
13
     100% liable on Mr. Musse’s state law negligence claim, and that his injuries resulted from
14

15   deliberate indifference to his safety by jail employees. Alternatively, under FRCP 37(e)(1)

16   it could simply prohibit the County from offering evidence or argument countering what
17   plaintiff submits on those points. Either way, the County still will be able to argue that its
18
     policies and customs were not the cause of Mr. Musse’s injuries (see Dkt. 62 at 6), and it
19
     will be free to contest Mr. Musse’s damage claims.
20
                 DATED August 19, 2021.
21                                                   MacDONALD HOAGUE & BAYLESS
22                                                   By: /s/ Timothy Ford
                                                         Timothy K. Ford, WSBA #5986
23                                                       TimF@MHB.com
24
                                                     JAY H. KRULEWITCH, ATTORNEY AT LAW
25
                                                     By: /s/Jay H. Krulewitch_____________
26                                                       Jay H. Krulewitch, WSBA #17612
27                                                   Attorneys for Plaintiff
     PLAINTIFF’S MOTION FOR SANCTIONS
     FOR SPOLIATION OF EVIDENCE - 12                                           MACDONALD HOAGUE & BAYLESS
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                   Case 2:18-cv-01736-JCC Document 71 Filed 08/19/21 Page 13 of 13



 1                                         CERTIFICATE OF SERVICE

 2               I certify that on the date noted below I electronically filed this document entitled MOTION

 3   FOR SANCTIONS FOR SPOLIATION OF EVIDENCE with the Clerk of the Court using the

 4   CM/ECF system, which will send notification of such filing to all registered CM/ECF participants.

 5

 6               Dated: August 19, 2021

 7                                                          /s/ Timothy K. Ford
                                                            Timothy K. Ford
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     PLAINTIFF’S MOTION FOR SANCTIONS
     FOR SPOLIATION OF EVIDENCE - 13                                               MACDONALD HOAGUE & BAYLESS
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